           Case 2:18-cr-00075-KJD-BNW    Document 33     Filed 06/04/18   Page 1 of 1



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8
                           UNITED STATES DISTRICT COURT
9

10                                  DISTRICT OF NEVADA

11

12
     UNITED STATES OF AMERICA,                  Case No.: 2:18-CR-0075 KJD-PAL
13
                  Plaintiff,
14
                                                ORDER FOR THE US MARSHAL
     vs.
15                                              SERVICE TO PROVIDE AN EYE
                                                EXAMINATION TO DEFENDANT
     JOCKAMOE HAWLEY,
16                                              FOR PRESCRIPTION GLASSES
17                 Defendant.

18
                  At the oral request of defense counsel, made at the change of plea
19

20   hearing, and there appearing to be good cause:

21                IT IS HEREBY ORDERED that the United States Marshal Service
22
     shall ensure that Mr. Hawley is provided with an eye examination so that he may
23
     have a current prescription that will enable him to order appropriate eyeglasses.
24

25
                     6/4/2018
            Dated: ______________

26                                          ____________________________________
27                                          The Honorable Kent J. Dawson
                                            United States District Judge
28   ORDER FOR THE US MARSHAL SERVICE TO PROVIDE AN EYE EXAMINATION TO DEFENDANTFOR
     PRESCRIPTION GLASSES - 1
